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     CRST INTERNATIONAL, INC. and CRST EXPEDITED, INC.
 7
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   CURTIS MARKSON AND MARK
11   MCGEORGE, individually and on behalf           State Court Case No.: CIVDS1709404
     of the Putative Class,
12                      Plaintiffs,                 DEFENDANTS’ NOTICE OF
13                                                  REMOVAL TO FEDERAL COURT
                  vs.
14   CRST INTERNATIONAL, INC., an Iowa
15   corporation, CRST EXPEDITED, INC., an
     Iowa corporation, and DOES 1-100,
16   inclusive,

17                      Defendants.

18
19         Defendants, CRST International, Inc. and CRST Expedited, Inc., remove this
20   case from the Superior Court of San Bernardino County, California, to the U.S. District
21   Court for the Central District of California. In support of removal, Defendants state the
22   following:
23         1.     The Action. Plaintiffs, Curtis Markson and Mark McGeorge, filed their
24   Class Action Complaint for (1) Unreasonable Charges and Penalties Associated with
25   Training for CDL Licenses and (2) Unlawful, Unfair or Fraudulent Business Practices,
26   captioned Curtis Markson and Mark McGeorge, individually and on behalf of the
27   Putative Class v. CRST International, Inc., CRST Expedited, Inc.; and Does 1-100,
28   inclusive, Case No. CIVDS1709404, in the Superior Court of San Bernardino,
                                                1

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 1   California, on May 15, 2017 (“Complaint”). The Complaint asserts two causes of
 2   action: (1) unreasonable charges and penalties associated with training for CDL
 3   licenses, and (2) unlawful, unfair or fraudulent business practices. Copies of all
 4   pleadings and papers filed in the Superior Court of San Bernardino County, California
 5   of which Defendants are aware are attached as Exhibit A.
 6         2.     Statutory Grounds for Removal. This action is removable under the
 7   Class Action Fairness Act of 2005 (“CAFA”) because this is a class action with a
 8   proposed class exceeding 100 persons in which the amount in controversy exceeds $5
 9   million, exclusive of interest and costs, and because the Plaintiffs and Defendants are
10   citizens of different states. See 28 U.S.C. §§ 1332(d)(2) and 1453.
11         3.     Class Action. This case is a class action within the meaning of CAFA
12   because Plaintiffs seek class certification of a class under California law. See 28 U.S.C.
13   § 1332(d)(1)(B) (defining a “class action” to include any civil action filed under state
14   class action certification procedures); Complaint, ¶ 70 (describing the case as a class
15   action under section 382 of the California Code of Civil Procedure). In addition,
16   Plaintiffs allege the class they seek to represent includes more than 1,000 individuals.
17   See 28 U.S.C. § 1332(d)(5)(B) (limiting CAFA jurisdiction to proposed classes with at
18   least 100 members); Complaint, ¶ 71 (“Defendants employ more than 1,000 employees
19   who satisfy the class definition.”).
20         4.     Citizenship of the Parties. Plaintiffs allege they are residents of the State
21   of California. See Complaint, ¶¶ 1, 2. They are therefore citizens of California. CRST
22   Expedited and CRST International are both corporations incorporated under the laws of
23   Iowa with their principal places of business located in Iowa. See Declaration of David
24   Souza (attached as Exhibit B), ¶ 3. Therefore, both Defendants are citizens of Iowa.
25   28 U.S.C. § 1332(c); see also Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010).
26   Plaintiffs’ naming of unidentified “Doe” defendants is irrelevant to removal. See 28
27   U.S.C. § 1441(a) (“For purposes of removal under this chapter, the citizenship of
28   defendants sued under fictitious names shall be disregarded.”); Kruso v. Int’l Tel. &
                                                 2

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 1   Telegraph Corp., 872 F.2d 1416, 1424 (9th Cir. 1989) (the naming of Doe defendants
 2   cannot defeat diversity jurisdiction). Thus, Plaintiffs and Defendants are citizens of
 3   different states, and the diversity requirements of 28 U.S.C. § 1332(d)(2)(A) are
 4   satisfied.
 5          5.    Amount in Controversy – 28 U.S.C. § 1332(d)(2). Defendants deny all of
 6   Plaintiffs’ claims and dispute that this case is suitable for class certification.
 7   Nevertheless, the amount in controversy by virtue of the claims asserted on behalf of
 8   the putative class members exceeds CAFA’s $5 million jurisdictional threshold.
 9          Plaintiffs seek to represent a class defined to consist of two groups: (1) all
10   individuals who signed a Pre-Employment Driver Training Agreement with CRST
11   Expedited but did not complete a 10-month Driver Employment Contract between May
12   12, 2013 to the present (the “Student Driver Class”) and (2) all individuals who signed
13   both a Pre-Employment Driver Training Agreement and a Driver Employment Contract
14   with CRST Expedited but did not complete a 10-month Driver Employment Contract
15   between May 12, 2013 to the present (the “Driver Class”). Complaint, ¶ 70. Plaintiffs
16   allege there are “more than 1,000 employees who satisfy the class definition.” Id., ¶ 71.
17          According to Plaintiffs, the Pre-Employment Driver Training Agreement that all
18   class members signed contains a liquidated damages clause providing that, if a class
19   member fails to complete his or her 10-month term of employment, the class member
20   would immediately owe CRST Expedited $6,500 plus additional amounts. Id., ¶ 27.
21   Plaintiffs further allege that members of the Driver Class signed a Driver Employment
22   Contract which likewise imposed liquidated damages in the amount of $6,500 for
23   failing to complete the agreement. Id., ¶¶ 34, 70.
24          Plaintiffs allege that “[t]he provisions of the Pre-Employment Driver Training
25   Agreement and Driver Employment Contract requiring payment of the $6,500
26   constitute an illegal penalty clause or illegal liquidated damages clause under
27   [California] Civil Code section 1671.” Id., ¶ 64. Plaintiffs seek a declaration that these
28   provisions are void and unenforceable. Id., ¶¶ 81-89. In addition to seeking the
                                                 3

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 1   elimination of this debt, Plaintiffs seek restitution of all amounts already paid in
 2   satisfaction of the amounts owed. Id., Prayer for Relief, ¶ 3.
 3         Plaintiffs’ allegations place more than $5 million in controversy. Plaintiffs allege
 4   that all class members signed agreements subjecting them to $6,500 in liquidated
 5   damages for failing to complete their agreements, and that all class members failed to
 6   complete the terms of their agreements. Plaintiffs accordingly allege that each class
 7   member was subjected to the assessment of a $6,500 penalty for failing to complete the
 8   terms of their agreements. Plaintiffs ask the Court to declare the alleged liquidated
 9   damages clauses null and void and to render “all amounts paid and debts purportedly
10   owed” under that clause as “uncollectable.” Complaint’s Prayer for Relief, ¶¶ 3, 5, 6.
11   Since Plaintiffs allege that more than 1,000 individuals satisfy the class definition and
12   therefore would have been subjected to the imposition of $6,500 in alleged liquidated
13   damages, Plaintiffs’ allegations place at least $6.5 million in controversy (1,000 class
14   members × $6,500 = $6,500,000).
15         Moreover, while Plaintiffs allege that there are at least 1,000 class members,
16   CRST Expedited has employed more than 2,000 individuals who signed both a Pre-
17   Employment Driver Training Agreement and a Driver Employment Contract but who
18   did not complete the 10-month Driver Employment Contract between May 12, 2013 to
19   the present. See Declaration of Jason Hedges, ¶ 2 (attached as Exhibit C). The amount
20   in controversy is therefore at least $13 million. This case is accordingly removable
21   under CAFA.
22         6.     Timeliness of Removal. Where “the case stated by the initial pleading is
23   removable on its face,” a defendant has 30 days from receipt of the initial pleading to
24   remove the case. See Kuxhausen v. BMW Fin. Servs., Inc., 707 F.3d 1136, 1140 (9th
25   Cir. 2013) (quoting Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 885 (9th Cir.
26   2010) and citing 28 U.S.C. § 1446(b)). The Complaint was served on May 23, 2017.
27   Removal is therefore timely.
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 1         7.     Notice of Removal to Adverse Parties and to State Court Clerk. Under
 2   28 U.S.C. § 1446(d), Defendants will give written notice of this removal to Plaintiffs
 3   and to the Clerk of the Superior Court of San Bernardino County, California. Promptly
 4   after filing this Notice of Removal, Defendants will send to Plaintiffs and will file with
 5   the Clerk of the Superior Court of San Bernardino County, California a Notice of
 6   Removal to Adverse Parties and State Court Clerk, a true and correct copy of which is
 7   attached as Exhibit D.
 8         8.     No Waiver. By filing this Notice of Removal, Defendants do not waive
 9   any available defenses.
10         WHEREFORE, Defendants respectfully remove this case to this Court.
11
12   Dated: June 22, 2017                   SCOPELITIS, GARVIN, LIGHT, HANSON &
                                            FEARY, LLP
13
14
                                            By:       /s/ Megan E. Ross
15                                                    Megan E. Ross
16                                                    Attorney for Defendants,
                                                      CRST INTERNATIONAL, INC. and
17                                                    CRST EXPEDITED, INC.
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 1                                      PROOF OF SERVICE
 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3         I, Michelle Lazo, am employed in the County of Los Angeles, State of
     California. I am over the age of 18 and not a party to the within action. My business
 4   address is 2 North Lake Avenue, Suite 560, Pasadena, California 91101.
 5          On June 22, 2017, I served the foregoing document described as
     DEFENDANTS’ NOTICE OF REMOVAL TO FEDERAL COURT on interested
 6   parties in this action by placing a true copy thereof enclosed in a sealed envelope
     addressed as follows:
 7
                     Robert J. Wasserman                Jonathan Melmed
 8                   rwasserman@mayallaw.com            jm@melmedlawcom
                     William J. Gorham                  Melmed Law Group, P.C.
 9                   sgorham@mayallaw.com               1180 South Beverly Drive, Suite 610
                     Nicholas J. Scardigli              Los Angeles, CA 90035
10                   nscardigli@mayallaw.com
                     Mayall Hurley, P.C.
11                   2453 Grand Canal Boulevard
                     Stockton, CA 95207-8253
12
                     Craig J. Ackerman
13                   cjn@ackermanntilajef.com
                     Ackerman & Tilajef, P.C.
14                   1180 South Beverly Drive, Suite
                     610
15                   Los Angeles, CA 90035
16   √          (BY MAIL) I deposited such envelope in the mail at Pasadena, California. The
                envelope was mailed with postage thereon fully prepaid.
17
     √          I am “readily familiar” with the firm’s practice of collection and processing
18              correspondence for mailing. Under that practice it would be deposited with U.S.
                postal service on that same day with postage thereon fully prepaid at Pasadena,
19              California in the ordinary course of business. I am aware that on motion of the
                party served, service is presumed invalid if postal cancellation date or postage
20              meter date is more than one day after date of deposit for mailing in affidavit.
21    √         (STATE) I declare under penalty of perjury under the laws of the State of
                California that the above is true and correct.
22
     √          (FEDERAL) I declare that I am employed in the office of a member of the bar of
23              this court at whose direction the service was made.
24              Executed on June 22, 2017, at Pasadena, California.
25
26
                                                            _________________________
27                                                               Michelle Lazo
28   4844-1708-1930, v. 7




                                            PROOF OF SERVICE
